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  7
  8   Attorneys for Plaintiff Ox Labs Inc.
  9                             UNITED STATES DISTRICT COURT
 10                         CENTRAL DISTRICT OF CALIFORNIA
 11                                  WESTERN DIVISION
 12
 13    OX LABS INC., a California                  Case No. CV 18-5934-MWF(KSx)
       Corporation,
 14                                                JOINT EXHIBIT LIST
 15                  Plaintiff,
                                                   Pretrial Conf: Nov. 18, 2019
 16                         vs.                    Trial: Dec. 3, 2019
 17    BITPAY, INC., a Delaware
       Corporation, and Does 1-10,
 18
 19                  Defendants.
 20
 21
 22          Pursuant to Federal Rule of Civil Procedure Rule 26(a)(3)(A), Local Rule 16-
 23   6.1 and the Court’s Orders, Plaintiff Ox Labs Inc. (“Ox Labs”) and Defendant
 24   Bitpay, Inc. (“Bitpay”), through their respective counsel, hereby submit this Joint
 25   Exhibit List for trial:
 26
 27
 28

      JOINT EXHIBIT LIST
      Case No. CV 18-5934-MWF(KSx)
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  1   I.     EXHIBITS THAT MAY BE USED BY BOTH PARTIES
  2
      *Indicates that exhibit will be used only if the need arises.
  3
           Exhibit                                             Date         Date
  4                                  Description
           Number                                            Identified   Admitted
  5
                         05/18/2017 Email Chain
  6          101         among A. Thobhani, B. Krohn,
                         G. Melika, and K. Getch
  7
                         [commencing with emails
  8                      dated February 16, 2017]
  9                      [SUBJECT TO REDACTION
                         FOR FRE 408]*
 10
 11
             102         07/2015 Bitpay’s SFOX
 12
                         Transaction register
 13
 14
             103         A. Thobhani letter to B. Krohn
 15
                         [SUBJECT TO REDACTION
 16                      FOR FRE 408]*
 17
 18          104         08/23/2019 Defendant’s
 19                      Supplemental Responses to
                         Plaintiff Ox Labs, Inc.’s First
 20                      Set of Interrogatories
 21                      (Corrected)

 22
 23          105         05/01/2019 Defendant’s
                         Responses to Plaintiff Ox Labs,
 24
                         Inc.’s First Set of
 25                      Interrogatories
 26
 27
 28
                                                   -2-
      JOINT EXHIBIT LIST
      Case No. CV 18-5934-MWF(KSx)
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  1
             106         SFOX BTC Discovery
  2                      Balances.xlsx
  3
             107         July 2015 Master Crypto
  4                      Rec.xlsx
  5

  6          108         05/18/2017 Email Chain
  7
                         among T. Gallippi, A.
                         Thobhani, B. Krohn, G.
  8                      Melika, and K. Getch
  9
                         [commencing with emails
                         dated February 16, 2017]
 10
                         [SUBJECT TO REDACTION
 11                      FOR FRE 408]*
 12
 13          109         05/23/2017 Letter from D.
 14                      Gutiérrez to B. Krohn
                         [SUBJECT TO REDACTION
 15
                         FOR FRE 408]*
 16
 17
             110         06/06/2017 Letter from L.
 18                      Kunin to D. Gutiérrez
 19                      [SUBJECT TO REDACTION
 20                      FOR FRE 408]*

 21
 22          111         07/12/2017 Letter from L.
                         Kunin to D. Gutiérrez
 23
                         [SUBJECT TO REDACTION
 24                      FOR FRE 408]*
 25
 26          112         Ox Labs’ Complaint Filed
 27                      07/06/2018
 28
                                              -3-
      JOINT EXHIBIT LIST
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  1
              113        BitPay’s Answer &
  2                      Affirmative Defenses Filed
  3                      10/23/2018

  4
  5           114        Plaintiff’s Responses and
                         Objections to BitPay’s First Set
  6                      of Interrogatories dated May
  7                      22, 2019.
  8

  9
 10
      II.    EXHIBITS THAT MAY BE USED BY PLAINTIFF

 11
      *Indicates that exhibit will be used only if the need arises.
 12
            Exhibit                                            Date         Date
                                     Description
 13         Number                                           Identified   Admitted
 14           150        Charts showing Value
 15                      Weighted Average Price
                         (“VWAP”) of Bitcoin
 16
 17
              151        Charts showing VWAP of
 18
                         Bitcoin Gold, Bitcoin Cash*
 19
 20                      08/09/2019 Declaration of
              152
 21                      Anthony Gallippi in Support of
                         Defendant BitPay, Inc.’s
 22                      Motion for Summary Judgment
 23
 24                      08/09/2019 Declaration of
              153
 25                      Kirstie Getch in Support of
                         Defendant BitPay, Inc.’s
 26
                         Motion for Summary Judgment
 27
 28
                                                   -4-
      JOINT EXHIBIT LIST
      Case No. CV 18-5934-MWF(KSx)
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  1   III.    EXHIBITS THAT MAY BE USED BY DEFENDANT
  2
  3   *Indicates that exhibit will be used only if the need arises.
  4          Exhibit                                           Date         Date
                                     Description
  5          Number                                          Identified   Admitted

  6            201       09/09/2019 Declaration of
                         Akbar Thobani in Support of
  7
                         Opposition to BitPay’s Motion
  8                      for Summary Judgment.
  9
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 11
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      JOINT EXHIBIT LIST
      Case No. CV 18-5934-MWF(KSx)
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  1                           IV.    CERTIFICATE OF SERVICE
  2
             I certify that counsel of record, listed below, is being served on October 28,
  3
      2019, with a copy of this document through the CM/ECF Filing System as identified
  4
      on the Notice of Electronic Filing dated October 28, 2019.
  5

  6                                                                /s/ Anahit Samarjian
                                                                   Anahit Samarjian
  7
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 17
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 18
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      JOINT EXHIBIT LIST
      Case No. CV 18-5934-MWF(KSx)
